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                  DEUTSCHE OEL & GAS AG AND RIECK KAY
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             9                                  UNITED STATES DISTRICT COURT
             10                            CENTRAL DISTRICT OF CALIFORNIA
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             12   DEUTSCHE OEL & GAS AG, a                    CASE NO. CV13-07811-FMO (CWx)
                  Stuttgart Aktiengesellschaft and RIECK
             13   KAY, an individual,
                                  Plaintiffs,                 PLAINTIFFS’ NOTICE OF
             14                                               VOLUNTARY DISMISSAL
                            v.                                WITHOUT PREJUDICE PURSUANT
             15                                               TO FED. R. C. P. 41(a)(1)(A)(i)
             16   DOES 1 through 10, inclusive,
             17                   Defendants.
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             1              PLEASE TAKE NOTICE THAT pursuant to Federal Rule of Civil Procedure
             2    41(a)(1)(A)(i), plaintiffs Deutsche Oel & Gas AG (“Deutsche”) and Rieck Kay
             3    (“Kay”) (collectively, “Plaintiffs”) hereby, through their undersigned counsel, hereby
             4    dismissed their claims without prejudice.
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             8
                  DATED: December 20, 2013              JEFFER MANGELS BUTLER & MITCHELL LLP
             9                                          ROD S. BERMAN
                                                        JESSICA BROMALL SPARKMAN
             10
             11
                                                        By: /s/ JESSICA BROMALL SPARKMAN
             12                                                  JESSICA BROMALL SPARKMAN
                                                        Attorneys for Plaintiffs DEUTSCHE OEL &
             13                                         GAS AG and RIECK KAY
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